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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )   Case No. 21-CR-00158-JWD
                                             )
ABIGAIL PEREZ and                            )
DYLAN TYLER NEAL,                            )
                                             )
       Defendants.                           )

                                         ORDER

       Before the Court are the Motion to Continue the Trial Date and Motion Deadlines

and the Motion Joining in Co-Defendant’s Amended Motion to Continue Jury Trial filed

on behalf of Defendants Dylan Tyler Neal and Abigail Perez (“Motions”). [Doc. Nos. 98,

99]. The Motions request that the Court continue the jury trial setting by sixty (60) days

on behalf of both Neal and Perez—which places codefendants on the same December 13,

2021 trailing jury trial docket—and find that the ends of justice served exclude the time

for the requested continuance.

       For the reasons stated below, the Court finds that the “ends of justice served by the

granting of such continuance outweigh the best interests of the public and the

defendant[s] in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Accordingly, the Court

GRANTS the Motions to continue the trial setting and will separately enter a second

amended scheduling order with modified pretrial submission deadlines that correspond to

the Court’s December 13, 2021 jury trial docket and to allow for consideration of pretrial

submissions in advance of trial.
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                                    BACKGROUND

       Neal and Perez were charged in a two-count indictment returned on May 12, 2021:

Neal was charged in count 1, and Perez was charged in count 2. [Doc. No. 5]. On June 1,

2021, Neal was arraigned and entered a plea of not guilty. [Doc. No. 19]. On June 24,

2021, Perez was arraigned and entered a plea of not guilty. [Doc. No. 51].

       At his arraignment, Neal was set for jury trial on July 20, 2021. [Doc. Nos. 26,

40]. At her arraignment, Perez was set for jury trial on August 17, 2021. [Doc. No. 58].

On July 19, 2021, the Court entered an Order granting the Motion to Continue the Trial

Date and Motion Deadlines filed on behalf of Neal, and on July 21, 2021, the Court

entered an Order granting the Motion to Continue Jury Trial filed on behalf of Perez. This

case was then set on the Court’s October 18, 2021, trailing jury trial docket. [See

generally Doc. Nos. 44–45, 66, 73–74, 76–78, 80–81].

       Neal filed his Motion, seeking a 60-day continuance of his trial date to allow

additional time for an expert to review medical records and render an opinion in this case.

[Doc. No. 98 at 1]. Codefendant Perez filed a Motion joining in Neal’s 60-day

continuance request, which would place her on the same new trial docket as Neal. [Doc.

No. 99]; see also Fed. R. Crim. P. 47(a). Perez seeks a continuance to provide her counsel

reasonable time necessary for effective preparation.

       Both defendants executed waivers of speedy trial rights [Doc. Nos. 94, 100],

acknowledging their understanding of their rights and waiving their rights for purposes of

the requested continuance in their respective Motions. The government does not oppose

the requests by the defendants.


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                                      DISCUSSION

       The relevant provisions of the Speedy Trial Act, specifically 18 U.S.C.

§ 3161(h)(7)(A), exclude from the speedy-trial calculation any period of delay resulting

from a continuance granted by any judge on the judge’s own motion or at the request of

either or both parties and their counsel if the judge finds that the ends of justice served

by taking such action outweigh the best interest of the public and the defendant in a

speedy trial. The Court must “protect the interests of the public by ensuring adherence to

the requirements of the Speedy Trial Act.” United States v. Toombs, 574 F.3d 1262, 1273

(10th Cir. 2009) (citing 18 U.S.C. § 3161(h)(7)(A)). The Speedy Trial Act gives the

Court some discretion to “accommodate limited delays for case-specific needs.” Zedner

v. United States, 547 U.S. 489, 499 (2006).

       The Court finds that the Motions present case-specific needs that justify the

requested continuances to the Court’s December 13, 2021, trailing jury trial docket and

that the “ends of justice served by the granting of such continuance outweigh the best

interests of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).1

The continuance is necessary to allow the defendants’ counsel an opportunity to

effectively prepare the defendants’ defenses.

       In making these findings, the Court has considered the following factors, among

others:

    (i)    Whether the failure to grant such a continuance in the proceeding
           would be likely to make a continuation of such proceeding impossible,

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         The Act also excludes delay resulting from the Court’s consideration and
disposition of the Motions, and the Court excludes the delay between the filing of the
Motions and this Order. See 18 U.S.C. § 3161(h)(1)(D), (h)(1)(H).
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            or result in a miscarriage of justice;

    (ii)    Whether the case is so unusual or so complex, due to the number of
            defendants, the nature of the prosecution, or the existence of novel
            questions of fact or law, that it is unreasonable to expect adequate
            preparation for pretrial proceedings or for the trial itself within the time
            limits established by this section;

    (iii)   Whether, in a case in which arrest precedes indictment, delay in the
            filing of the indictment is caused because the arrest occurs at a time
            such that it is unreasonable to expect return and filing of the indictment
            within the period specified in section 3161(b), or because the facts upon
            which the grand jury must base its determination are unusual or
            complex; and

    (iv)    Whether the failure to grant such a continuance in a case which, taken as a
            whole, is not so unusual or so complex as to fall within clause (ii), would
            deny the defendant reasonable time to obtain counsel, would unreasonably
            deny the defendant or the Government continuity of counsel, or would deny
            counsel for the defendant or the attorney for the Government the reasonable
            time necessary for effective preparation, taking into account the exercise of
            due diligence.

18 U.S.C. § 3161(h)(7)(B).

       Based on the showings in the Motions, which are unopposed by the government,

the Court finds that failure to grant the requested continuance would deny defendants’

counsel the reasonable time necessary for effective preparation considering the exercise

of due diligence, and that the delay is necessary for the defendants and their counsel to

prepare proper and adequate defenses. See 18 U.S.C. § 3161(h)(7)(B)(iv). The delay

resulting from the requested continuance is excludable under the Speedy Trial Act under

18 U.S.C. § 3161(h)(7)(A) based on the Court’s finding herein that the “ends of justice

served by granting of such continuance outweigh the best interests of the public and the

defendant in a speedy trial.” See Zedner, 547 U.S. at 499 (Speedy Trial Act gives the

Court discretion to “accommodate limited delays for case-specific needs”).

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       In discharge of its duty to protect the defendants’ constitutional rights to a

speedy trial under the Sixth Amendment, the Court also considers: (1) the length of the

delay; (2) the reason for the delay; (3) whether the defendant has asserted his right to a

speedy trial; and (4) whether the delay will prejudice the defendant. Barker v. Wingo,

407 U.S. 514, 530 (1972). Analyzing these factors, the Court finds that the reasonable

and limited delay in bringing the defendants to trial is justified for the reasons

articulated in the Motions.

       The Court is aware of no circumstances that would suggest that the delay

contemplated by this Order will prejudice Neal or Perez. To the contrary, each of the

defendants has acknowledged his or her rights and has requested this delay as being in his

or her best interests. [See Doc. Nos. 94, 100]. However, the Court expresses its

continuing expectation and confidence that the government and its agents will take no

action during this limited delay that would impair the defendants’ rights to effective

assistance of counsel and to a fair trial. The Court advises the parties of its continuing

expectation that counsel will promptly bring to the Court’s attention any actual or

impending developments or circumstances that would, as a result of this delay, jeopardize

the defendants’ constitutional or statutory rights.

                                      CONCLUSION

       For the reasons stated above, the Court CONTINUES the trial of the above-

captioned matter (21-CR-00158-JWD) to the Court’s December 13, 2021 trailing jury

trial docket. All unsatisfied deadlines listed in the Court’s scheduling orders [Doc. Nos.

77, 81] are CONTINUED. The Court will separately issue a second amended scheduling


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order placing this case on the Court’s December 2021 trial docket and modifying motions

and pretrial deadlines.

       IT IS SO ORDERED this 14th day of October 2021.




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